                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF W ISCONSIN
____________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,

            v.                                            Case No. 06-CR-215

MAURICE DAVIS, et al.,

               Defendants.
____________________________________________

                                     ORDER

      On April 16, 2007, Magistrate Judge W illiam E. Callahan, Jr. issued a

recommendation as to Lawrence Butler’s and Tavarius W allace’s pretrial motions.

Butler filed timely objections to Magistrate Callahan’s recommendation, and in a

separate order, this court has affirmed Magistrate Callahan’s recommendation that

Butler’s motions be denied. Neither the government nor W allace filed timely

objections to Magistrate Callahan’s recommendation that W allace’s motion for

disclosure of certain evidence pursuant to Rule 404(b) of the Federal Rules of

Evidence be granted and that his motion for a bill of particulars be denied.

Therefore, pursuant to Local Rule 72.3 and 28 U.S.C. § 363(b)(1), the court will

adopt Magistrate Callahan’s recommendation as to W allace’s pretrial motions. See

United States v. Edwards, 894 F. Supp. 340, 341 (E.D. W is. 1995) (holding that in

the absence of timely filed objections to the magistrate's recommendation and order,

a de novo review of issues is not required). Additionally, to ensure both the orderly




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and timely adjudication of this multi-defendant case, the court now directs that

counsel for the government confer with counsel for each defendant and thereafter,

file not later than August 17, 2007, a written status report addressing the likelihood

of each defendant resolving his or her case short of trial. Upon receipt of such report,

the court will schedule further proceedings as may be necessary.

      Accordingly,

      IT IS ORDERED that Magistrate Callahan’s Recommendation [Docket # 102]

be and the same is hereby ADOPTED;

      IT IS FURTHER ORDERED that Tavarius W allace’s motion for disclosure of

evidence [Docket # 67] be and the same is hereby GRANTED;

      IT IS FURTHER ORDERED that Tavarius W allace’s motion for a bill of

particulars [Docket # 68] be and the same is hereby DENIED; and

      IT IS FURTHER ORDERED that on or before August 17, 2007, the

government, in consultation with each defendant’s attorney, is to file a detailed

status report indicating the likelihood of each defendant proceeding to trial.

      Dated at Milwaukee, Wisconsin this 1st         day of August, 2007.

                                                BY THE COURT:

                                                 s/ J. P. Stadtmueller
                                                J. P. Stadtmueller
                                                U.S. District Judge




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